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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE


LEILANI BRADSHAW,                        )
                                         )
                Plaintiff,               )
                                         )
v.                                       )    No. __________
                                         )
CIGNA HEALTH & LIFE INSURANCE,           )
                                         )
                Defendant.               )
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

         Defendant Life Insurance Company of North America (“LINA”), incorrectly designated

above as “Cigna Health & Life Insurance,” files this Notice of Removal to this Court an action

brought against it and currently pending in the Shelby County General Sessions Court, bearing

Docket No. 1763137, and with respect thereto, would show this Court as follows:

                                                      I.

         The above-styled cause was commenced in the Shelby County General Sessions Court,

State of Tennessee, Case No. 1763137, by virtue of a Civil Warrant filed by Plaintiff Leilani

Bradshaw on September 14, 2015.

         LINA and/or the State of Tennessee Department of Commerce and Insurance received a

copy of Plaintiff’s Civil Warrant on or about September 18, 2015. Pursuant to 28 U.S.C. §

1446(a), a copy of the aforementioned Civil Warrant and the Court file, are attached and made a

part of this Notice by reference.

                                                      II.

         Upon information and belief, Plaintiff is a citizen of the State of Tennessee.




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                                                    III.

         The Civil Warrant alleges a claim for the alleged nonpayment of insurance benefits to

Plaintiff.   Despite the Civil Warrant’s allegations to the contrary, the insurance policy is

governed by the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq.

(“ERISA”). Affidavit of Lisa Mekkelsen (“Mekkelsen Aff.”), ¶ 6 attached as Exhibit A; see

also copy of the policy attached as Exhibit B. Accordingly, this action is one of a civil nature

for damages claimed as a result of an alleged breach of an ERISA insurance contract. Based on

the ERISA nature of the claims alleged by Plaintiff, this Court has original jurisdiction over

Plaintiff’s action against LINA under the provisions of 28 U.S.C. § 1331.

         Specifically, this is an action for benefits arising under ERISA. 29 U.S.C. § 1132(e)(1)

confers original jurisdiction upon the district courts of the United States over claims initiated by

plan participants, beneficiaries, or fiduciaries to recover benefits due or to enforce rights under

employee benefit plans governed by ERISA. The Civil Warrant asserts Plaintiff's rights to

recover benefits under the terms of a plan. See Civil Warrant. It is clear that this action arises

under federal law, and this Court has original jurisdiction.

         Further, while federal preemption is ordinarily a defense and, as such, would not satisfy

the well-pleaded complaint rule for removal purposes, causes of action filed in state court that

are preempted by ERISA and come within the scope of Section 1132(a) are removable to federal

court under 28 U.S.C. § 1441(a) as an action arising under federal law, even if the defense of

ERISA preemption does not appear on the face of the complaint. Metropolitan Life Ins. v.

Taylor, 481 U.S. 58, 107 S. Ct. 1542, 95 L. Ed.2d 55 (1987). To the extent the specific claims

against LINA are separately articulated, those specific claims as to LINA also are removed. The

requisite federal question exists, as provided in 28 U.S.C. § 1331.




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                                                     IV.

         The time period within which LINA is required to file this Notice of Removal pursuant to

28 U.S.C. § 1446 has not yet expired. LINA first received notice of the action no earlier than

September 18, 2015.

                                                     V.

         LINA files herewith a copy of all process, pleadings, and orders served upon all parties to

this action.

                                                     VI.

         Notice to the Shelby County General Sessions Court, which attaches a duplicate of this

Notice of Removal to federal court, is being filed with the Clerk of the Shelby County General

Sessions Court as required by 28 U.S.C. § 1446(d).

                                                   VIII.

         Notice of the filing of this Notice of Removal will be sent to the Plaintiff, the only

adverse party, as required by 28 U.S.C. § 1446(d).

                                                     IV.

         The allegations of this Notice are true and correct and within the jurisdiction of the

United States District Court for the Western District of Tennessee, and, as noted above, this

cause of action is removable to the United States District Court for the Western District of

Tennessee.




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         WHEREFORE, LINA files this Notice for the purpose of removing this action from the

General Sessions Court of Shelby County to the United States District Court for the Western

District of Tennessee.

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      By: s/Cameron S. Hill
                                                      Cameron S. Hill (TN BPR No. 017408)
                                                      1800 Republic Centre
                                                      633 Chestnut Street
                                                      Chattanooga, TN 37450-1800
                                                      Telephone: 423.209.4160
                                                      Facsimile: 423.752-9545
                                                      Email: chill@bakerdonelson.com

                                                      Counsel for Defendant


                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 16, 2015, a copy of the foregoing Notice of Removal was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.

                               Leilani Bradshaw
                               27 Crescent Bluff Court
                               Apt. 101
                               Memphis, TN 38106


                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      By: s/Cameron S. Hill




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